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 DAVIDOFF HUTCHER & CITRON LLP
 Attorneys for Nir Meir
 120 Bloomingdale Road
 White Plains, New York 10601
 (914) 381-7400
 JAMES B. GLUCKSMAN

 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
 ----------------------------------------------------------------x
 YH LEX ESTATES LLC,                                                 Adv. Pro. No.
                                                                     22-01077
                                          Petitioner,

                              -against-

 NIR MEIR, RANEE A. BARTOLACCI, and
 ERMITAGE ONE, LLC,

                                          Respondents.

 ----------------------------------------------------------------x

                        NOTICE OF APPEARANCE AND REQUEST FOR
                                SERVICE OF DOCUMENTS


        PLEASE TAKE NOTICE THAT, pursuant to Rules 9010 and 2002 of the Federal

Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), Davidoff Hutcher & Citron LLP

hereby appears as attorneys for Nir Meir, in connection with the above-referenced Adversary

Proceeding. It is requested that copies of any and all notices, pleadings, and orders be sent to:

                                   DAVIDOFF HUTCHER & CITRON LLP
                                        120 Bloomingdale Road
                                     White Plains, New York 10601
                                    Attn: James B. Glucksman, Esq.
                                         Robert L. Rattet, Esq.
                                           jbg@dhclegal.com
                                       Telephone: 914-381-7400
                                       Facsimile: 914-381-7406

        PLEASE TAKE FURTHER NOTICE, that, pursuant to Fed.R.Bankr.P. Rule 9007of

the Bankruptcy Code, the foregoing demand includes not only the notices and papers referred to
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in the Bankruptcy Rules specified above, but also includes, without limitation, orders and notices

of any application, complaint or demand, motion, petition, pleading or request, and answering or

reply papers filed in this case, whether formal or informal, written or oral, and whether served,

transmitted or conveyed by mail, email, hand delivery, telephone, telegraph, telex or otherwise

filed or made with regard to the above-captioned case and proceedings therein.

       PLEASE TAKE FURTHER NOTICE, that request is also made that the undersigned

by added to any official service list for notices of all contested matters, adversary proceedings, or

other proceedings in this case.

Dated: White Plains, New York
       April 11, 2022

                                              DAVIDOFF HUTCHER & CITRON LLP
                                              Attorneys for The Williamsburg Hotel BK LLC
                                              120 Bloomingdale Road
                                              White Plains, New York 10601
                                              (914) 381-7400


                                              By: /s/ James B. Glucksman
                                                 JAMES B. GLUCKSMAN
